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12 MONSANTO COMPANY

13                               UNITED STATES DISTRICT COURT
14                            NORTHERN DISTRICT OF CALIFORNIA
15                                                  )
   IN RE: ROUNDUP PRODUCTS                          ) MDL No. 2741
16 LIABILITY LITIGATION                             )
                                                    ) Case No. 3:16-md-02741-VC
17                                                  )
                                                    ) MONSANTO COMPANY’S
18 Hardeman v. Monsanto Co., et al.,                ) OPPOSITION TO PLAINTIFF’S
   3:16-cv-0525-VC                                  ) MOTION IN LIMINE NO. 3 TO
19 Stevick v. Monsanto Co., et al.,                 ) EXCLUDE ANY EVIDENCE AND
   3:16-cv-2341-VC                                  ) TESTIMONY REGARDING THE
20 Gebeyehou v. Monsanto Co., et al.,               ) EFFICACY AND BENEFITS OF
   3:16-cv-5813-VC                                  ) GLYPHOSATE
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                      MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE NO. 3
                                RE: EFFICACY AND BENEFITS OF GLYPHOSATE
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 1 I.       INTRODUCTION
 2          Plaintiffs’ MIL No. 3 seeks to preclude a broad array of scientific evidence, including even

 3 evidence of how glyphosate works, on the flawed theory that evidence of Roundup’s benefits and

 4 efficacy is irrelevant. But Roundup’s benefits are relevant to many of the material issues in this

 5 case, including the jury’s assessment of Plaintiffs’ putative exposure and causation, design-defect

 6 claims, negligence claims, request for punitive damages, and contention that Monsanto employees

 7 acted with improper motives. For these reasons, the Court in Johnson v. Monsanto Co. considered

 8 and denied a motion nearly identical to the one submitted by MDL Plaintiffs, which seeks to

 9 preclude evidence of the benefits and efficacy of Roundup. Plaintiffs here offer little more than the

10 recycled argument that efficacy and benefits evidence should be excluded because the consumer-

11 expectation test applies to Plaintiffs’ strict-liability design-defect claim. But as the Johnson court

12 correctly concluded, that evidence is relevant and admissible even if Plaintiffs are correct about that

13 test (and they are not). There is no basis to exclude that evidence from trial.

14 II.      ARGUMENT
15          At the outset, it is important to clarify that Plaintiffs have pleaded four claims in this case:
16 strict product liability for design defect, negligence, failure to warn, and breach of warranty. This

17 point matters because Plaintiffs’ arguments for why the benefits of glyphosate are irrelevant largely

18 turn on their claim that they are entitled to proceed with the consumer-expectation test for claims of

19 strict product liability for design defect. Mot. at 1-4. As to that claim, Monsanto contends that this

20 Court should instead apply the risk-benefit test. But at this stage, the Court need not resolve the

21 legal dispute over which test applies in order to rule on Plaintiffs’ motion. As Judge Karnow ruled

22 in the Johnson matter, the benefits of glyphosate, including its properties and efficacy, are essential

23 background information, and are relevant affirmative and/or rebuttal evidence for causation and a

24 host of additional issues, regardless of which test applies:

25          Evidence regarding the benefits and efficacy of glyphosate may be relevant at least
            as (1) background information, (2) perhaps pertaining to punitive damages, and (3)
26          pertaining to its tendency to “drift” or not (i.e. whether the spray at issue is low
            volatility) because that pertains to plaintiff’s theory of causation and exposure. This
27          is true whether plaintiff proceeds on a risk/benefit theory or not; there is no reason

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 1          in this context to decide whether plaintiff may proceed under either the consumer
            expectation test or the risk-benefit test. At argument plaintiff’s counsel suggested
 2          that the issues were perhaps best presented in the context of Sargon motions.

 3 See Stekloff Decl., Ex. 1 at 3 (4/3/18 Order Denying Monsanto’s Motion for Continuance of Trial

 4 Date and Re: Motions in Limine).

 5          A.     Evidence of Glyphosate’s Properties Is Relevant to Causation.
 6          The efficacy and qualities of glyphosate are directly relevant to Plaintiffs’ claims of

 7 exposure, and thus pertain to issues that will be before the Court in Phase 1. Plaintiffs claim they

 8 were exposed to “drift” of glyphosate as a result of spraying, as well as contact from spillage. See

 9 Stekloff Decl., Ex. 2, Hardeman Dep. Tr. 200:14-201:2, 267:15-268:19; Stekloff Decl., Ex. 3,

10 Stevick Dep. Tr. 119:8-120:13; Stekloff Decl., Ex. 4, Gebeyehou Dep. Tr. 101:13-22; Stekloff Decl.,

11 Ex. 5, Sawyer Rpt. at 12. Dr. Al-Khatib, however, explains that the volatility of glyphosate, and its

12 capacity for drift, is very low, which directly rebuts Plaintiffs’ claims that they achieved the level

13 of exposure upon which their experts base their opinions. See Stekloff Decl., Ex. 6, Al-Khatib

14 Hardeman Rpt. at 25 (“[T]he commercial formulations of glyphosate have low volatility—that is,

15 they have a low tendency to vaporize—meaning they can be applied to an area with little risk of

16 vapor drift . . . .”). He also explains the properties of glyphosate that make glyphosate-based

17 products easy and safe to load into sprayers. Id. at 23.

18          Further, glyphosate’s properties also serve to rebut the opinion of Dr. Ritz, an epidemiologist

19 who alleges that the persistence of glyphosate in soil is a bad thing, and speculates about the

20 “possibility of exposure to glyphosate due to drift,” and “a possibility of contaminated water

21 supplies.” Stekloff Decl., Ex. 7, Ritz Rpt. at 22. Dr. Al-Khatib (who, unlike Dr. Ritz, possesses

22 expertise on these questions) explains that Dr. Ritz’s supposition is incorrect: Glyphosate’s ability

23 to bind to the soil is a positive characteristic that means it does not leach into the groundwater and

24 thus is much less likely to cause any exposure in the manner that Plaintiffs’ experts speculate. See

25 Stekloff Decl., Ex. 6, Al-Khatib Hardeman Rpt. at 26 (“[G]lyphosate has a higher soil-binding

26 potential as compared to several other herbicides commonly used . . . [and that] provides another

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 1 reason that it will not contaminate groundwater.”).1 Plaintiffs’ motion improperly would exclude

 2 this evidence that is directly relevant to medical causation and therefore should be permitted in

 3 Phase 1.

 4          B.      Evidence of Glyphosate’s Benefits Is Relevant to Plaintiffs’ Negligence Claim.
 5          Evidence of glyphosate’s benefits is also relevant to Plaintiffs’ negligence claim. The

 6 California Supreme Court has explained that a products-liability claim sounding in negligence

 7 involves application of risk-benefit principles. See Merrill v. Navegar, Inc., 26 Cal. 4th 465, 479-80

 8 (2001).2 In Merrill, the Court compared the nature of proof in a design-defect case sounding in

 9 negligence to one sounding in strict liability. Id. The Court observed that negligence implicates the

10 question of whether “a reasonable person would conclude that the magnitude of the reasonably

11 foreseeable harm as designed outweighed the utility of the product as so designed.” Id. at 479

12 (quoting Prosser & Keeton On The Law of Torts § 96, at 688 (5th ed. 1984)). Consequently, the

13 proof of negligent design requires an analysis similar to that of strict product liability based on the

14 “risk-benefit” test, in which the alleged risks of glyphosate are balanced against its broader benefits.

15 See id. at 480 (comparing the two standards). Indeed, the Court observed that ‘“most of the

16 evidentiary matters’ relevant to applying the risk/benefit test in strict liability cases ‘are similar to

17 the issues typically presented in a negligent design case.’” Id. (quoting Barker v. Lull Eng’g Co.,

18 20 Cal. 3d 413, 431 (1978)).

19          C.      Evidence of Glyphosate’s Benefits Is Relevant to Rebut Allegations of
                    Corporate Misconduct.
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            Should trial reach Phase 2, glyphosate’s benefits also help to explain the motives and behavior
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     Dr. Hanson also addresses, among other topics, the concept of “drift” as it relates to Plaintiffs’
   claims of exposure, as well as the use of personal-protection equipment pursuant to label instructions
24 to reduce exposure. See Stekloff Decl., Ex. 8, Hanson Stevick Rpt. at 21-26.
     2
25   Monsanto assumes the parties will submit further briefing on whether the jury ultimately will be
   instructed on the risk-benefit or consumer-expectation test, as Plaintiffs’ complaint appears to
26 proceed under both theories. See Hardeman First Am. Compl. at ¶ 138 (“more dangerous than an
   ordinary consumer would expect”), ¶ 137 (“the foreseeable risks exceeded the benefits”).
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                         MONSANTO’S OPPOSITION TO PLAINTIFF’S MOTION IN LIMINE NO. 3
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 1 of Monsanto and its employees in response to Plaintiffs’ claims of misconduct. Plaintiffs’ theory

 2 essentially is that glyphosate is an evil chemical, and that Monsanto’s employees engaged in

 3 misconduct by defending glyphosate publicly in a variety of ways in order to advance the company’s

 4 profit motives. See, e.g., Stekloff Decl., Ex. 9, Benbrook Rpt. at Table of Contents. Indeed, Plaintiffs’

 5 central company-conduct witness, Dr. Benbrook, asserts in a 150+ page expert report that Monsanto

 6 engaged in misconduct by overstating the benefits of Roundup and understating possible risks. See

 7 id. at 159.

 8          These allegations directly implicate the benefits of glyphosate, and the jury cannot evaluate

 9 Plaintiffs’ claim that Monsanto overstated Roundup’s benefits without hearing what those benefits

10 are. Further, and contrary to Plaintiffs’ assertions, the societal benefits of glyphosate explain why

11 Monsanto has so vigorously presented science-based arguments about glyphosate in response to

12 public attacks. Monsanto’s attention to the public and scientific discourse about glyphosate cannot be

13 understood properly unless its actions are placed into the context of glyphosate’s beneficial role in

14 weed control, including in modern agriculture. The jury cannot be permitted to hear only Plaintiffs’

15 accusations without the necessary context of the actual motives behind Monsanto’s defense of

16 glyphosate.

17          Courts repeatedly have held that the benefits of a product are relevant to a jury’s assessment

18 of conduct underlying a punitive-damages claim. See, e.g., Musgrave v. Breg, Inc., No. 2:09-cv-

19 01029, 2011 WL 4620767, at *6 (S.D. Ohio 2011) (denying the plaintiffs’ motion in limine to preclude

20 a pain-pump manufacturer from offering evidence to rebut punitive damages “that it is a ‘good

21 corporate citizen’ that benefits society by making products that are life-saving or improve the quality

22 of peoples’ lives”); Schubkegel v. Gordino, 56 Cal. App. 2d 667, 675 (1943) (citing Fleet v. Tichenor,

23 156 Cal. 343 (1909) and affirming its holdings that first, the trial court had erred in sustaining

24 objections to questions posed to the defendant to show his absence of malice and rebut plaintiff’s

25 claim for punitive damages and second, that a defendant is entitled to present evidence as to the intent

26 with which he did a certain act, when the intent is material to the action). That Monsanto’s products

27 like Roundup contain glyphosate, “the most important herbicide” available today, see Stekloff Decl.,

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 1 Ex. 10 (S. Duke and S. Powles, Glyphosate: A Once-in-a-Century Herbicide, 64 Pest Manag. Sci. 319,

 2 319 (2008)), and permit farmers to protect crops and feed the world population, is core evidence

 3 relevant to rebutting Plaintiffs’ punitive damages claims. See, e.g., Cal. Civ. Code § 3294(a)

 4 (requiring punitive-damages plaintiff to prove “by clear and convincing evidence that the defendant

 5 has been guilty of oppression, fraud, or malice”).

 6             D.     Evidence of Glyphosate’s Benefits Presents No Risk of Undue Prejudice or
                      Jury Confusion.
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               Plaintiffs also offer the unexplained assertion that evidence of glyphosate’s benefits would
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     be a waste of time or confuse the jury. Mot. at 5. In Johnson v. Monsanto, however, the Court
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     permitted Dr. Al-Khatib’s testimony regarding glyphosate’s benefits, which was relevant,
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     circumscribed, and did not actually invite Plaintiffs’ claimed “trial within a trial.” Ultimately, this
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     is an insufficient basis to exclude evidence that is central to the jury’s understanding of multiple
12
     issues.
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     III.      CONCLUSION
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               Plaintiffs’ overly broad request to exclude evidence that goes to the heart of Plaintiffs’
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     claims, as well as Monsanto’s defense, should be denied.
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     DATED: January 30, 2019
17
                                                      Respectfully submitted,
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19                                                    /s/   Brian L. Stekloff

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 1                                    CERTIFICATE OF SERVICE
 2         I HEREBY CERTIFY that on this 23rd day of January 2019, a copy of the foregoing was
 3 served via electronic mail to opposing counsel.

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 5                                                /s/   Brian L. Stekloff

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